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EXHIBIT
Case 2:11-cv-12422-AC-MKM ECF No. 129-8, PagelD.2123 Filed 07/28/14 Page 2 of 3

JUN if "@7 13:28 FR THE REICH AGENCY 1 248 203 9809 TO 16146776189 P.@5,66

NATIONWIDE LIFE INSURANCE COMPANY
APPLICATION FOR DESIGNATION OF OWNER ANDIOR CONTINGENT OWNER

Policy Number;__ 2.034 Bo 300 Wesureds GY he Ly Priorte

, the present owner of the above Sumbered policy, hereby revoke any previous designation of Owner and/or Contingeat Owner, and !
hereby designats as the Owner and/or Contingent Ownes of the ssid Policy effective this date in accordance with the policy provisions,
the following;

If more than one owner, ownership will be vested Jointly or in the Strvivor(s), but if noxe are living or in existence, then in the
contingent owner(s), if any, join@y or in the sorviver(s), otherwise to the Executor or Administrator Of the Estate of the last sald
owner,

NEW OWNER: Socia! Security or Taxpayer Sdentificatiog Number:

FULL NAME DATE OF 8: RELATIONSHIP TO INSURED
Wathen bene __ aa eo Praca: Kearse teakag>
OS B ys

ADDRESS,

NEW CONTINGENT OWNER: Social Security or Taxpayer Identification Number: ee

FULL NAME DATE OF BIRTH RELATIONSH?P TO INSURED
ADDRESS

Premium Notices Shall bo sent to the new owner for the above mentioned policy, mntess checked and completed betow:

D Premium Payor to be Address of Payor

Print filt name of Payor / Print full address of Payor

tion, subjoct to any

vf ores

A : : sion ' ,
Signed at Utes Seeptitna My this day of lanl » ZED]
- :
Yo : Se
New Owner's Signature Present 's Signature

HOME OFFICE USE ONLY

Agreed to for Nationwide Life insurance Company

. Complete and send to Company at Columbus, Ohio 43215
Life-§ }12.M DO NOT SEND POLICY (03/2062)

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JUN 11 °@? 13°28 FR THE REICH AGENCY 1 248 293 9999 TD 16146776189 P. 86-05

NATIONWIDE LIFE INSURANCE COMPANY
APPLICATION FOR DESIGNATION OF OWNER AND/OR CONTINGENT
OWNER

APPLICATION oer tare been cocked 10 ast you with the comploioe GFN Gecice
APPLICATION FOR DESIGNATION OF OWNER AND/OR CONTINGENT OWNER. Please read
these instructions carefully before completing the application. a.

1. Use this form to request a Change of policy ownership. If the desired Change of ownership is
complex, or if you have any questions, please contact Nationwide Life Insurance Company at the
Home Office.

2. This application revokes ALL Previous ownership. Therefore, even if the Present owner or
contingent owner is to remain the same, such owner must bé renamed on this form.

obtained from Nationwide Life Insurance Company at the Home Office. must be notarized and

9. Complete and send to Nationwide Life Insurance Company, PO Box 182835, Columbus, Obio
43218-2835,

Life-1812-M (03/2002)

xo TOTAL PAGE.26 x

